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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC
 FILTERS MARKETING, SALES
 PRACTICES AND PRODUCT
 LIABILITY LITIGATION                                      Case No. 1:14-ml-2570-RLY-TAB
                                                                   MDL No. 2570
 This Document Relates to:

 Bonamour, Kristi Still (deceased) and
 Still, Dianne (Administratix of the Estate)

 Case No. 1:21-cv-00426


                       STIPULATED DISMISSAL WITH PREJUDICE

        The parties in the above-captioned case hereby stipulate, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), that Plaintiff’s claims against all Defendants shall be dismissed with

prejudice. Each party shall bear its own fees and costs.



Dated: July 26, 2022

 /s/ Donald W. Medley                              /s/ Andrea Roberts Pierson
 Donald W. Medley                                  Andrea Roberts Pierson
 MEDLEY LAW GROUP                                  FAEGRE DRINKER BIDDLE &
 Email: don@medleylawgroup.com                            REATH LLP
 902 W. Pine Street                                Email: andrea.pierson@faegredrinker.com
 Hattiesburg, MS 39401                             300 North Meridian Street, Suite 2500
 Telephone: (601) 544-8110                         Indianapolis, IN 46204
 Fascimile: (601) 544-8158                         Phone: (317) 237-0300
                                                   Facsimile: (317) 237-1000
 Attorney for Plaintiff
                                                   Attorney for Defendants




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of July, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service in this MDL.



                                                    /s/ Andrea Roberts Pierson




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